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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0632V


 BOBBI MOON,                                                 Chief Special Master Corcoran

                         Petitioner,
 v.                                                          Filed: February 4, 2025

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Leigh A. Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS1

       On January 12, 2021, Bobbi Moon (“Petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2
(the “Vaccine Program”). Petitioner alleged that after her receipt of an influenza (“flu”)
vaccine on October 21, 2019, she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury, lasting over six months. Petition (ECF
No. 1).

       I previously concluded that there was an absence of preponderant evidence that
Petitioner’s alleged injury had persisted for at least six months post-vaccination, and

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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therefore the claim was properly dismissed. Dismissal Decision (ECF No. 35), available
at Moon v. Sec’y of Health & Hum. Servs., No. 21-632V, 2024 WL 981367 (Fed. Cl. Spec.
Mstr. Feb. 1, 2024). That decision – including the summary of the previous procedural
history, and the underlying evidence – is fully incorporated and relied upon herein.

      Petitioner has now moved for an award of attorneys’ fees and costs. However, for
the reasons set forth below, I find that Petitioner has failed to establish there was a
reasonable basis for the claim. Thus, she is not entitled to an award of attorney’s fees
and costs, and the fees motion is denied.

       I.     Post-Dismissal Procedural History

        As noted above, the claim was dismissed on February 1, 2024. ECF No. 35.
Judgment entered on March 6, 2024. ECF No. 36. On July 1, 2024, Petitioner filed a
motion requesting $12,442.58 (representing $11,736.20 in attorneys’ fees, and $706.38
for attorneys’ costs). ECF No. 38 at 2. However, the application does not address the
statutory requirements of good faith and reasonable basis – prerequisites for any
attorney’s fees and costs award in unsuccessful cases. See Section 15(e)(1).

       On July 10, 2024, Respondent filed a response, in which he defers to my
determination of whether the statutory requirements for an award of attorneys’ fees and
costs are met in this uncompensated case. ECF No. 39. Petitioner has not filed a reply.
The matter is ripe for adjudication.

 II.        Applicable Legal Standards

       Motivated by a desire to ensure that petitioners have adequate assistance from
counsel when pursuing their claims, Congress determined that attorney’s fees and costs
may be awarded even in unsuccessful claims. H.R. REP. NO. 99-908, at 22 reprinted in
1986 U.S.C.C.A.N. 6344, 6363; see also Sebelius v. Cloer, 133 S.Ct. 1886, 1895 (2013)
(discussing this goal when determining that attorneys’ fees and costs may be awarded
even when the petition was untimely filed). This is consistent with the fact that “the
Vaccine Program employs a liberal fee-shifting scheme.” Davis v. Sec’y of Health & Hum.
Servs., 105 Fed. Cl. 627, 634 (2012). Indeed, it may be the only federal fee-shifting statute
that permits unsuccessful litigants to recover fees and costs.

        However, Congress did not intend that every losing petition be automatically
entitled to attorney’s fees. Perreira v. Sec’y of Health & Hum. Servs., 33 F.3d 1375, 1377
(Fed. Cir. 1994). And there is also a prerequisite to even obtaining fees in an unsuccessful
case. The special master or court may award attorney’s fees and costs to an unsuccessful


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claimant only if “the petition was brought in good faith and there was a reasonable basis
for the claim for which the petition was brought.” Section 15(e)(1). Reasonable basis is a
prerequisite to a fee award for unsuccessful cases – but establishing it does not
automatically require an award, as special masters are still empowered by the Act to deny
or limit fees. James-Cornelius on behalf of E. J. v. Sec'y of Health & Hum. Servs., 984
F.3d 1374, 1379 (Fed. Cir. 2021) (“even when these two requirements are satisfied, a
special master retains discretion to grant or deny attorneys’ fees”).

        As the Federal Circuit has explained, whether a discretionary fees award is
appropriate involves two distinct inquiries, but only reasonable basis is at issue herein.3
Reasonable basis is deemed “an objective test, satisfied through objective evidence.”
Cottingham v. Sec’y of Health & Hum. Servs., 971 F.3d 1337, 1344 (Fed. Cir. 2020)
(“Cottingham I”). “The reasonable basis requirement examines “not at the likelihood of
success [of a claim] but more to the feasibility of the claim.” Turner, 2007 WL 4410030,
at *6 (quoting Di Roma v. Sec’y of Health & Hum. Servs., No. 90-3277V, 1993 WL 496981,
at *1 (Fed. Cl. Spec. Mstr. Nov. 18, 1993)). The Federal Circuit recently explained “that a
reasonable basis analysis is limited to objective evidence, and that subjective
considerations, such as counsel’s subjective views on the adequacy of a complaint, do
not factor into a reasonable basis determination.” James-Cornelius, 984 F.3d at 1379.

       Although clearly easier to meet than the preponderant standard required for
compensation, “courts have struggled with the nature and quantum of evidence
necessary to establish a reasonable basis.” Wirtshafter v. Sec’y of Health & Hum. Servs.,
155 Fed. Cl. 665, 671 (Fed. Cl. 2021). “[I]t is generally accepted that ‘a petitioner must
furnish some evidence in support of the claim.’” Id. Citing the prima facie elements of a
successful claim described in Section 11(c)(1), the Federal Circuit recently instructed that
the level of the objective evidence sufficient for a special master to find reasonable basis
should be “more than a mere scintilla but less than a preponderance of proof.” Cottingham
I, 971 F.3d at 1345-46. “This formulation does not appear to define reasonable basis so
much as set its outer bounds.” Cottingham v. Sec’y of Health & Hum. Servs., 159 Fed.
Cl. 328, 333, (Fed. Cl. 2022) (“Cottingham II”), aff’d without op., 2023 WL 754047 (Fed.
Cir. Nov. 14, 2023). “[T]he Federal Circuit’s statement that a special master ‘could’ find
reasonable basis based upon more than a mere scintilla does not mandate such a
finding.” Cottingham II, 159 Fed. Cl. at 333 (citing Cottingham I, 971 F.3d at 1346).


3 Claimants must also establish that the petition was brought in good faith. Simmons v. Sec’y of Health &

Hum. Servs., 875 F.3d 632, 635 (Fed. Cir. 2017) (quoting Chuisano v. Sec’y of Health & Hum. Servs., 116
Fed. Cl. 276, 289 (2014)). “[T]he ‘good faith’ requirement . . . focuses upon whether petitioner honestly
believed he had a legitimate claim for compensation.” Turner v. Sec’y of Health & Hum. Servs., No. 99-
0544V, 2007 WL 4410030, at *5 (Fed. Cl. Spec. Mstr. Nov. 30, 2007). But good faith is not disputed herein,
and I do not ascertain evidence in the record calling it into question.


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       Furthermore, the issue of reasonable basis is not a static inquiry. Reasonable
basis for a claim at the time of filing may cease to exist as further evidence is presented.
Perreira, 33 F.3d at 1377. In Perreira, the Federal Circuit affirmed a special master’s
determination that reasonable basis was lost after Petitioner’s “expert opinion, which
formed the basis of the claim, was found to be unsupported by either medical literature
or studies.” Id. at 1376.

        At issue here, Vaccine Act Section 11(c)(1)(D)(i) requires the establishment of an
injury and residual effects lasting for over six months after the date of vaccination. This is
a threshold requirement for entitlement. Black v. Sec’y of Health & Hum. Servs., 33 Fed.
Cl. 546, 550 (1995) (reasoning that the “potential petitioner” must not only make a prima
facie case, but clear a jurisdictional threshold, by “submitting supporting documentation
which reasonably demonstrates that a special master has jurisdiction to hear the merits
of the case”), aff’d, 93 F.3d 781 (Fed. Cir. 1996) (internal citations omitted).

III.   Analysis

        As previously explained in my Dismissal Decision, this Petition was filed at a time
when it appeared possible that SIRVA was to be removed from the Program as a Table
claim. Moon, 2024 WL 981367, at *1 and n. 3. Thus, this matter (like many others) was
filed in an effort to “beat the clock,” and with an awareness that the matter had not been
fully vetted. But the most relevant medical records – most of which existed as of the
petition’s filing – show that the claim had substantial evidentiary deficiencies:

       Petitioner was discharged from PT having met all of her goals [for her
       shoulder injury] just three months post-vaccination, in mid-January 2020.
       One subsequent chiropractic records reflects right shoulder and neck pain,
       but it includes a higher pain rating for the latter (which would not be properly
       deemed SIRVA-related) and has no express connection to the vaccine
       injury. Even if that record is interpreted in Petitioner’s favor, it is from just
       four months post-vaccination. And the records of at least 18 other medical
       encounters dating over the next 16 months (mid-January 2020 – late May
       2021) are silent regarding the existence of an ongoing right shoulder injury,
       and they reflect Petitioner’s ability to seek medical care for various other
       concerns, notwithstanding her assertions that medical care was costly and
       required her to take time off from work… Overall, the existing evidence
       suggests that the right shoulder injury was at best a lesser concern for which
       Petitioner deferred any formal treatment for over a year, despite ample
       opportunity.



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Moon, 2024 WL 981367 at *5 – 6. This severity issue was not cured by unnotarized,
unsworn statements from Petitioner and her former husband (who separated sometime
during the treatment gap), and by a new PCP’s documentation of right-sided pain,
numbness, and tingling. Id. at *6 – 7. Petitioner did not avail herself of a final opportunity
to submit further evidence, and I ultimately could not conclude that her alleged injury
persisted for at least six months post-vaccination.

        Neither can I find a reasonable basis for the claim. The objective medical record
evidence reflects a relatively mild shoulder injury which was managed conservatively with
some prescription pain medications. There were no steroid injections, imaging, or surgical
intervention. After eight formal PT sessions (in a one-month timespan), the shoulder injury
was assessed to be resolved, and Petitioner was discharged – just three months post-
vaccination. It is simply not credible that she continued to suffer from a shoulder injury
that was not documented over the next 16 months, with 18 medical encounters for other
concerns. Petitioner’s former husband and new PCP did not demonstrate persuasive
firsthand recollections of the key facts. That leaves Petitioner’s own (after-the-fact,
unsworn) allegation – which is insufficient to outweigh the more objective and
contemporaneous medical records – which, again, existed at the time the petition was
filed. In such circumstances, the Act places the risk of filing the claim on counsel, and
does not allow an award of fees.

                                              Conclusion

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs to an
unsuccessful litigant who manages to establish good faith and a reasonable basis for the
Petition. Section 15(e)(1). But reasonable basis has not been established here.
Therefore, Petitioner’s motion for attorney’s fees and costs is DENIED.

      The Clerk of the Court is directed to enter judgment in accordance with this
Decision.4

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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